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FOP SHCREPNOFORN
TO: All Members of the House of Representatives
FROM: HPSCI Minority
DATE: January 29, 2018
RE: Correcting the Record — The Russia Investigations

 

The HPSCI Majority’s move to release to the House of Representatives its allegations against the
Federal Bureau of Investigation (FBI) and the Department of Justice (DOJ) is a transparent effort
to undermine those agencies, the Special Counsel, and Congress’ investigations. It also risks
public exposure of sensitive sources and methods for no legitimate purpose.

FBI and DOJ officials did not “abuse” the Foreign Intelligence Surveillance Act (FISA) process,
omit material information, or subvert this vital tool to spy on the Trump campaign.

In fact, DOJ and the FBI would have been remiss in their duty to protect the country had they not
sought a FISA warrant and repeated renewals to conduct temporary surveillance of Carter Page,
someone the FBI assessed to be an agent of the Russian government. DOJ met the rigor,
transparency, and evidentiary basis needed to meet FISA’s probable cause requirement, by
demonstrating:

© contemporaneous evidence of Russia’s election interference;

© concerning Russian links and outreach to Trump campaign officials;

© Page’s history with Russian intelligence; and

© ER ? acc’ s suspicious activities in 2016, including in Moscow.

The Committee’s Minority has therefore prepared this memorandum to correct the record:

° Christopher Steele’s raw intelligence reporting did not inform the FBI’s decision to
initiate its counterintelligence investigation in late July 2016. In fact, the FBI’s closely-
held investigative team only received Steele’s reporting in mid-September — more than seven
weeks later. The FBI — and, subsequently, the Special Counsel’s — investigation into links
between the Russian government and Trump campaign associates has been based on
troubling law enforcement and intelligence information unrelated to the “dossier.”

¢ DOJ’s October 21, 2016 FISA application and three subsequent renewals carefully
outlined for the Court a multi-pronged rationale for surveilling Page, who, at the time of
the first application, was no longer with the Trump campaign. DOJ detailed Page’s past
relationships with Russian spies and interaction with Russian officials during the 2016
campaign, TG. DOJ cited multiple sources to support the case for
surveilling Page — but made only narrow use of information from Steele’s sources about
Page’s specific activities in 2016, chiefly his suspected July 2016 meetings in Moscow with
Russian officials. . In fact,
the FBI interviewed Page in March 2016 about his contact with Russian intelligence, the very
month candidate Donald Trump named him a foreign policy advisor.

As DOJ informed the Court in subsequent renewals,
Steele’s reporting about Page’s Moscow meetings . DOJ’s
applications did not otherwise rely on Steele’s reporting, including any “salacious” allegations
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about Trump, and the FBI never paid Steele for this reporting. While explaining why the FBI
viewed Steele’s reporting and sources as reliable and credible, DOJ also disclosed:

o Steele’s prior relationship with the FBI;

© the fact of and reason for his termination as a source; and

othe assessed political motivation of those who hired him.

¢ The Committee Majority’s memorandum, which draws selectively on highly sensitive
classified information, includes other distortions and misrepresentations that are
contradicted by the underlying classified documents, which the vast majority of Members of
the Committee and the House have not had the opportunity to review ~ and which Chairman
Nunes chose not to read himself, '

Background

On January 18, 2018, the Committee Majority, during an unrelated business meeting, forced a
surprise vote to release to the full House a profoundly misleading memorandum alleging serious
abuses by the FBI and DOJ. Majority staff drafted the document in secret on behalf of Chairman
Devin Nunes (and reportedly with guidance and input from Rep. Trey Gowdy), and then rushed
a party-line vote without prior notice.

This was by design. The overwhelming majority of Committee Members never received DOJ
authorization to access the underlying classified information, and therefore could not judge the
veracity of Chairman Nunes’ claims. Due to sensitive sources and methods, DOJ provided access
only to the Committee’s Chair and Ranking Member (or respective designees), and limited staff,
to facilitate the Committee’s investigation into Russia’s covert campaign to influence the 2016
U.S. elections.* As DOJ has confirmed publicly, it did not authorize the broader release of this
information within Congress or to the public, and Chairman Nunes refused to allow DOJ and the
FBI to review his document until he permitted the FBI Director to see it for the first time in
HPSCI’s secure spaces late on Sunday, January 28 — 10 days after disclosure to the House.

FBI’s Counterintelligence Investigation

In its October 2016 FISA application and subsequent renewals, DOJ accurately informed the
Court that the FBI initiated its counterintelligence investigation on July 31, 2016, after receiving
information . George Papadopoulos revealed

i that individuals linked to Russia, who took interest in Papadopoulos as a Trump
campaign foreign policy adviser, informed him in late April 2016 that Russia

 
   

 
 

.” Papadopoulos’s disclosure,
moreover, occurred against the backdrop of Russia’s aggressive covert campaign to influence
our elections, which the FBI was already monitoring. We would later learn in Papadopoulos’s
plea that that the information the Russians could assist by anonymously releasing were thousands
of Hillary Clinton’s emails.>

DOJ told the Court the truth. Its representation was consistent with the FBI’s underlying
investigative record, which current and former senior officials later corroborated in extensive

 
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Committee testimony. Christopher Steele’s reporting, which he began to share with an FBI agent
through the end of October 2016, played no role in launching the
FBI’s counterintelligence investigation into Russian interference and links to the Trump
campaign. In fact, Steele’s reporting did not reach the counterintelligence team investigating
Russia at FBI headquarters until mid-September 2016, more than seven weeks after the FBI
opened its investigation, because the probe's existence was so closely held within the FBI,° By
then, the FBI had already opened sub-inquiries into individuals linked to the Trump
campaign:

 
   

   
 
 

  

and former campaign foreign policy advisor Carter Page.

As Committee testimony bears out, the FBI would have continued its investigation, including
against SM individuals, even if it had never received information from Steele, never applied
for a FISA warrant against Page, or if the FISC had rejected the application. ?

DOJ’s FISA Application and Renewals

The initial warrant application and subsequent renewals received independent scrutiny and

approval by four different federal judges, three of whom were appointed by President George W. Orie by
Bush and one by President Ronald Reagan. DOJ first applied to the FISC on October 21, 2016 Kenge
for a warrant to permit the FBI to initiate electronic surveillance and physical search of Page for =
90 days, consistent with FISA requirements. The Court approved three renewals — in early

January 2017, early April 2017, and late June 2017 — which authorized the FBI to maintain

surveillance on Page until late September 2017. Senior DOJ and FBI officials appointed by the

Obama and Trump Administrations, including acting Attorney General Dana Boente and Deputy

Attorney General Rod Rosenstein, certified the applications with the Court.

by

FISA was not used to spy on Trump or his campaign. As the Trump campaign and Page have
acknowledged, Page ended his formal affiliation with the campaign months before DOJ applied
for a warrant. DOJ, moreover, submitted the initial application less than three weeks before the
election, even though the FBI’s investigation had been ongoing since the end of July 2016.

 

DOJ’s warrant request was based on compelling evidence and probable cause to believe Page was
knowingly assisting clandestine Russian intelligence activities in the U.S.:

° Page’s Connections to Russian Government and Intelligence Officials: The FBI had an
independent basis for investigating Page’s motivations and actions during the campaign,
transition, and following the inauguration. As DOJ described in detail to the Court, Page had
an extensive record as
GE (ior to joining the Trump campaign. He resided in Moscow from 2004-

2007 and pursued business deals with Russia’s state-owned energy company Gazprom—

  
 

  
  

    
 

 

As early as , 4 Russian intelligence office targeted Page for

recruitment, Page showed

 
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Page remained on the radar of Russian intelligence and the FBI. In 2013, prosecutors
indicted three other Russian spies, two of whom targeted Page for recruitment. The FBI also
interviewed Page multiple times about his Russian intelligence contacts, including in March
2016,'° The FBI’s concern about and knowledge of Page’s activities therefore long predate
the FBI’s receipt of Steele’s information.

¢ Page’s Suspicious Activity During the 2016 Campaign: The FISA applications also detail
Page’s suspicious activity after joining the Trump campaign in March 2016.
Page traveled to Moscow in July 2016, during
which he gave a university commencement address — an honor usually reserved for well-
known luminaries.

O It is in this specific sub-section of the applications that DOJ refers to Steele’s
reporting on Page and his alleged coordination with Russian officials. Steele’s
information about Page was consistent with the FBI’s assessment of Russian
intelligence efforts to recruit him and his connections to Russian persons of interest.

o In particular, Stecle’s sources reported that Page met separately while in Russia with
Igor Sechin, a close associate of Vladimir Putin and executive chairman of Rosneft,
Russia’s state-owned oil company, and Igor Divyekin, a senior Kremlin official. Sechin
allegedly discussed the prospect of future U.S.-Russia energy cooperation and “an
associated move to lift Ukraine-related western sanctions against Russia.” Divyekin
allegedly disclosed to Page that the Kremlin possessed compromising information on
Clinton (“kompromat”) and noted “the possibility of its being released to Candidate
#1’s campaign.”'! [Note; “Candidate #1” refers to candidate Trump,] This closely
tracks what other Russian contacts were informing another Trump foreign policy
advisor, George Papadopoulos.

* In subsequent FISA renewals, DOJ provided additional information obtained through
multiple independent sources that corroborated Steele’s reporting.

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© Page’s in Moscow with

senior Russian officials

   
 

    

as well as meetings with Russian officials
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This information contradicts Page’s November 2, 2017 testimony to the Committee, in which
he initially denied any such meetings and then was forced to admit speaking with

 
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Dvorkovich and meeting with Rosneft’s Sechin-tied investor relations chief, Andrey
Baranov.

* The Court-approved surveillance of Page allowed FBI to collect valuable intelligence.
The FISA renewals demonstrate that the FBI collected important investigative information
and leads by conducting Court-approved surveillance. For instance,

 
 
  

 

 
 

DOJ also documented evidence that Page

 
 
 

, anticipated
and repeatedly contacted
in an effort to present himself as

  
   
 
     

Page’s efforts t also contradict his

sworn testimony to our Committee.

DOJ’s Transparency about Christopher Steele

Far from “omitting” material facts about Steele, as the Majority claims,!7 DOJ repeatedly
informed the Court about Steele’s background, credibility, and potential bias. DOJ
explained in detail Stecle’s prior relationship with and compensation from the FBI; his
credibility, reporting history, and source network; the fact of and reason for his termination as a
source in late October 2016; and the likely political motivations of those who hired Steele.

¢ DOJ was transparent with Court about Steele’s sourcing: The Committee Majority,
which had earlier accused Obama Administration officials of improper “unmasking,” faults
DOJ for not revealing the names of specific U.S. persons and entities in the FISA application
and subsequent renewals, In fact, DOJ appropriately upheld its longstanding practice of
protecting U.S. citizen information by purposefully not “unmasking” U.S. person and entity
names, unless they were themselves the subject of a counterintelligence investigation. DOJ
instead used generic identifiers that provided the Court with more than sufficient information
to understand the political context of Steele’s research. In an extensive explanation to the
Court, DOJ discloses that Steele

“was approached by an identified U.S. Person,'* who indicated to Source #1[Steele]'” that a
U.S.-based law firm® had hired the identified U.S. Person to conduct research regarding
Candidate #1's7! ties to Russia. (The identified U.S, Person and Source #] have a long-
standing business relationship.) The identified U.S. person hired Source #1 to conduct this
research. The identified U.S. Person never advised Source #1 as to the motivation behind the
research into Candidate #1''s ties to Russia. The FBI speculates that the identified U.S. Person
was likely looking for information that could be used to discredit Candidate i's campaign, ”?2

Contrary to the Majority’s assertion that DOJ fails to mention that Steele’s research was
commissioned by “political actors” to “obtain derogatory information on Donald Trump’s
ties to Russia,” DOJ in fact informed the Court accurately that Steele was hired by

 
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politically-motivated U.S. persons and entities and that his research appeared intended
for use “to discredit” Trump’s campaign.

¢ DOJ explained the FBI’s reasonable basis for finding Steele credible: The applications

correctly described Steele as
. The applications also reviewed Steele’s multi-year

history of credible reporting on Russia and other matters, including information DOJ used in
criminal proceedings. 74 Senior FBI and DOJ officials have repeatedly affirmed to the
Committee the reliability and credibility of Steele’s reporting, an assessment also reflected in
the FBI’s underlying source documents,?5 The FBI has undertaken a rigorous process to vet
allegations from Steele’s reporting, including with regard to Page.*°

¢ The FBI properly notified the FISC after it terminated Steele as a source for making
unauthorized disclosures to the media. The Majority cites no evidence that the FBI, prior
to filing its initial October 21, 2016 application, actually knew or should have known of any
allegedly inappropriate media contacts by Steele. Nor do they cite evidence that Steele
disclosed to Yahoo! details included in the FISA warrant, since the British Court filings to
which they refer do not address what Steele may have said to Yahoo!.

DOJ informed the Court in its renewals that the FBI acted promptly to terminate Steele after
learning from him (after DOJ filed the first warrant application) that he had discussed his
work with a media outlet in late October. The January 2018 renewal further explained to the
Court that Steele told the FBI that he made his unauthorized media disclosure because of his
frustration at Director Comey’s public announcement shortly before the election that the FBI
reopened its investigation into candidate Clinton’s email use.

¢ DOJ never paid Steele for the “dossier”: The Majority asserts that the FBI had “separately
authorized payment” to Steele for his research on Trump but neglects to mention that
payment was cancelled and never made. As the FBI's records and Committee testimony
confirms, although the FBI initially considered compensation
, Steele ultimately never received payment from the FBI for
any “dossier”-related information.2” DOJ accurately informed the Court that Steele had
been an FBI confidential human source since a. for which he was “compensated
by the FB!” — payment for previously-shared information of value
unrelated to the FBI’s Russia investigation.”

Additional Omissions, Errors, and Distortions in the Majority’s Memorandum

¢ DOJ appropriately provided the Court with a comprehensive explanation of Russia’s
election interference, including evidence that Russia courted another Trump campaign
advisor, Papadopoulos, and that Russian agents previewed their hack and
dissemination of stolen emails. In claiming that there is “no evidence of any cooperation or
conspiracy between Page and Papadopoulos,” the Majority misstates the reason why DOJ
specifically explained Russia’s courting of Papadopoulos. Papadopoulos’s interaction with
Russian agents, coupled with real-time evidence of Russian election interference, provided
the Court with a broader context in which to evaluate Russia’s clandestine activities and
Page’s history and alleged contact with Russian officials. Moreover, since only Page

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Dianenanaiiceaiat: no evidence of a separate conspiracy between him and
apadopoulos was required, DOJ would have been negligent in omitting vital information
about Papadopoulos and Russia’s concerted efforts.

In its Court filings, DOJ made proper use of news coverage. The Majority falsely claims
that the FISA materials “relied heavily” on a September 23, 2016 Yahoo! News article by
Michael Isikoff and that this article “does not corroborate the Steele Dossier because it is
derived from information leaked by Steele himself.” *° In fact, DOJ referenced Isikoff’s
article, alongside another article the Majority fails to mention, not to provide separate
corroboration for Steele’s reporting, but instead to inform the Court of Page’s public denial
of his suspected meetings in Moscow, which Page also echoed in a September 25, 2016 letter
to FBI Director Comey.

The Majority’s reference to Bruce Ohr is misleading. The Majority mischaracterizes
Bruce Ohr’s role, overstates the significance of his interactions with Steele, and misleads
about the timeframe of Ohr’s communication with the FBI. In late November 20! 6, Ohr
informed the FBI of his prior professional relationship with Steele and information that
Steele shared with him (including Steele’s concern about Trump being compromised by
Russia). He also described his wife’s contract work with Fusion GPS, the firm that hired
Steele separately. This occurred weeks after the election and more than a month after the
Court approved the initial FISA application. The Majority describes Bruce Ohr as a senior
DOJ official who “worked closely with the Deputy Attorney General, Yates and later
Rosenstein,” in order to imply that Ohr was somehow involved in the FISA process, but there
is no indication this is the case,

Bruce Ohr is a well-respected career professional whose portfolio is drugs and organized
crime, not counterintelligence. There is no evidence that he would have known about the
Page FISA applications and their contents. The Majority’s assertions, moreover, are
irrelevant in determining the veracity of Steele’s reporting. By the time Ohr debriefs with the
FBI, it had already terminated Steele as a source and was independently corroborating
Steele's reporting about Page’s activities. Bruce Ohr took the initiative to inform the FBI of
what he knew, and the Majority does him a grave disservice by suggesting he is part of some
malign conspiracy.

Finally, Peter Strzok and Lisa Page’s text messages are irrelevant to the FISA
application. The Majority gratuitously includes reference to Strzok and Page at the end of
their memorandum, in an effort to imply that political bias infected the FBI’ s investigation
and DOJ’s FISA applications, In fact, neither Strzok nor Page served as affiants on the
applications, which were the product of extensive and senior DOJ and FBI review.2 In
demonizing both career professionals, the Majority accuses them of “orchestrating leaks to
the media” — a serious charge; omits inconvenient text messages, in which they critiqued a
wide range of other officials and candidates from both parties; does not disclose that FBI
Deputy Director McCabe testified to the Committee that he had no idea what Page and
Strzok were referring to in their “insurance policy” texts;?3 and ignores Strzok’s
acknowledged role in preparing a public declaration, by then Director Comey, about former
Secretary Clinton’s “extreme carelessness” in handling classified information—which greatly
damaged Clinton’s public reputation in the days just prior to the presidential election.
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' Letter to HPSCI Chairman Devin Nunes, Assistant Attorney General Stephen Boyd, Department of Justice,
January 24, 2018.

* Letter to HPSCI Chairman Devin Nunes, Assistant Attorney General Stephen Boyd, Department of Justice,
January 24, 2018. DOJ also confirmed in writing to Minority Staff DOJ and FBI's terms of review:

the Department has accommodated HPSCI’s oversight request by allowing repeated in camera reviews of
the material in an appropriate secure facility under the general stipulations that (1) the Chair (or his
delegate) and the Ranking Member (or his delegate) and two staff each, with appropriate security
clearances, be allowed to review on behalf of the Committee, (2) that the review take place in a reading
room set up at the Department, and (3) that the documents not leave the physical contro! of the Department,
and (5) that the review opportunities be bipartisan in nature. Though we originally requested that no notes
be taken, in acknowledgment of a request by the Committee and recognizing that the volume of documents
had increased with time, the Department eventually allowed notes to be taken to facilitate HPSCI’s review.
Also, initial reviews of the material include (sic] short briefings by Department officials to put the material
in context and to provide some additional information.

Email from Stephen Boyd to HPSCI Minority Staff, January 18, 2018 (emphasis supplied),

* Letter to HPSCI Chairman Devin Nunes, Assistant Attorney General Stephen Boyd, Department of Justice,
January 24, 2018.

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* Papadopoulos’s October 5, 2017 guilty plea adds further texture to this initial tip, by clarifying that a Russian agent

told Papadopoulos that “They [the Russians] have dirt on her”; “the Russians had emails of Clinton”; “they have
thousands of emails.” U.S. v. George Papadopoulos (1:17-cr-182, District of Columbia), p. 7.

 

” Under the Special Counsel’s direction, Flynn and Papadopoulos have both pleaded guilty to lying to federal
investigators and are cooperating with the Special Counsel’s investigation, while Manafort and his long-time aide,
former Trump deputy campaign manager Rick Gates, have been indicted on multiple counts and are awaiting trial.
See U.S. v, Michael T. Flynn (1:17-cr-232, District of Columbia); U.S. v. Paul J. Manafort, Jr., and Richard W.
Gates II (1:17-cr-201, District of Columbia); U.S. v. George Papadopoulos (|:17-cr-182, District of Columbia),

 
   
 

See also, U.S. v. Evgeny Buryakov,
Podobnyy, U.S, Southern District of New York, January 23, 2015.

'' Department of Justice, Foreign Intelligence Surveillance Court Application, October 21, 2016, p.18. Repeated in
subsequent renewal applications

'? Department of Justice, Foreign Intelligence Surveillance Court Application, June 29, 2017, pp. 20-21,

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a [Ser iar atc ES, the FBI and broader Intelligence Community’s high
contidence assessment that the Russian government was engaged in a covert interference campaign to influence the

2016 election, including that Russian intelligence actors “compromised the DNC” and WikiLeaks subsequently
leaked in July 2016 “a trove” of DNC emails. Department of Justice, Foreign Intelligence Surveillance Court

Application, October 21, 2016, pp. 6-7. Repeated and updated with new information in subsequent renewal
applications. Department of Justice, Foreign Intelligence Surveillance Court Application, June 29, 2017, pp. 20-21.

" Department of Justice, Foreign Intelligence Surveillance Court Application, June 29, 2017, pp. 36, 46, 48.
'® Department of Justice, Foreign Intelligence Surveillance Court Application, June 29, 2017, p. 56,

'T HPSCI Majority Memorandum, F oreign Intelligence Surveillance Act Abuses at the Department of Justice and
the Federal Bureau of Investigation, January 18, 2018, pp. 2-3 (enumerating “omissions” of fact, regarding Steele
and his activities, from the Page FISA applications).

'® Glenn Simpson.
'? Christopher Steele,
7° Perkins Coie LLP.
"1 Donald Trump,

*? Department of Justice, Foreign Intelligence Surveillance Court Application, October 21, 2016, pp. 15-16, n. 8.
Repeated in subsequent renewal applications.

3 HPSCI Majority Memorandum, Foreign Intelligence Surveillance Act Abuses at the Department of Justice and
the Federal Bureau of Investigation, January 18, 2018, p. 2.

*4 Department of Justice, Foreign Intelligence Surveillance Court Application, October 21, 2016, p. 15, footnote 8.
Repeated in subsequent renewal applications.

*5 Interview of Andrew McCabe (FBI Deputy Director), House Permanent Select Committee on Intelligence,
December 19, 2017, p. 46, 100; Interview of Sally Yates (former Deputy Attorney General), House Permanent Select
Committee on Intelligence, November 3, 2017, p. 16; Interview with John Carlin (former Assistant Attorney General
for National Security), House Permanent Select Committee on Intelligence, July, 2017, p. 35.

*6 Interview of Andrew McCabe (FBI Deputy Director), House Permanent Select Committee on Intelligence,
December 19, 2017, p. 100-101, 115.

*" Interview of FBI Agent, House Permanent Select Committee on Intelligence, December 20, 2017, p. 112.

*® Department of Justice, Foreign Intelligence Surveillance Court Application, October 21, 2016, pp. 15-16, n. 8.
Repeated in subsequent renewal applications.

*? HPSCI Majority Memorandum, Foreign Intelligence Surveillance Act Abuses at the Department of Justice and
the Federal Bureau of Investigation, January 18, 2018, p. 4 (“The Page FISA application also mentions information
regarding fellow Trump campaign advisor George Papadopoulos, but there is no evidence of any cooperation or
conspiracy between Page and Papadopoulos.”)

© HPSCI Majority Memorandum, Foreign Intelligence Surveillance Act Abuses at the Department of Justice and
the Federal Bureau of Investigation, January 18, 2018, p. 2. Neither Isikoff nor Yahoo! are specifically identified in
the FISA Materials, in keeping with the FBI’s general practice of not identifying U.S. persons.

*' Department of Justice, Foreign Intelligence Surveillance Court Application, October 21, 2016, p. 25; Department
of Justice, Foreign Intelligence Surveillance Court Application, January 12. 2017, p. 31; Carter Page, Letter to FBI
Director James Comey, September 25, 2016, 9

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"Interview of Andrew McCabe (FBI Deputy Director), House Permanent Select Committee on Intelligence,
December 19, 2017, p. 157.

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